Case 1:14-cr-20750-JAL Document 243 Entered on FLSD Docket 09/21/2015 Page 1 of 2




                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA

                        CASE NO. 14-20750-CR-LENARD/GOODMAN

  UNITED STATES OF AMERICA,

                  Plaintiff,
  vs.

  ALEJANDRO AMORE, et al.,

              Defendants.
  ________________________________/

        ORDER ADOPTING REPORT AND RECOMMENDATION (D.E. 228)

         THIS CAUSE is before the Court on the Report and Recommendation of U.S.

  Magistrate Judge Jonathan Goodman (AReport,@ D.E. 228), issued on September 10, 2015

  referring the Defendant’s Motion to Suppress Statements D.E. 123. To date, no

  objections to the Report have been filed. Failure to timely file objections shall bar parties

  from attacking on appeal the factual findings contained in the report. See Resolution

  Trust Corp. v. Hallmark Builders, Inc., 996 F.2d 1144, 1149 (11th Cir. 1993). Therefore,

  after an independent review of the Report and record, it is hereby ORDERED AND

  ADJUDGED that:

         1.     The Report of the Magistrate Judge (D.E. 228) issued on September 10,

  2010 is ADOPTED.

         2.     The Defendant’s Motion to Suppress Statements D.E. 123 is Denied as

                moot.
Case 1:14-cr-20750-JAL Document 243 Entered on FLSD Docket 09/21/2015 Page 2 of 2




                                    USA v. Amor, et al., 14-20750-CR-Lenard



        DONE AND ORDERED in Chambers at Miami, Florida, this 18th day of
  September, 2015.



                                               ________________________________
                                                JOAN A. LENARD
                                               UNITED STATES DISTRICT JUDGE
